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     Chicago: SHERIFF
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     Urbana4hampaign: SHERIFF

     Springrfield: SHERIFF

     Washirqton DC: SHERIFF                         qn          +['-
     Virginia: SHERIFF

     Maryland: SHERIFF
                                                  Sq.,r,'      (Lu sk
     -::::::--
     DEFENDANT

     Urtana-Ghampaign : SHERIFF

     Champaign Police




     #,::A"omeY(sta'ie's]*-
     Zuotu Cheng

     Brad Sutton

     Alexander Cerianic

     Neal J Cohen

     Aron Keith Qarbey

     MickealKey

     Samuel Behers
         Case: 1:23-cv-02704 Document #: 29 Filed: 11/02/23 Page 4 of 7 PageID #:645




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             Peter G. Okkema

             EricV. Stabb

             Donald lGrnm

             Keana Marie Galloway




             DEFEITBANT

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